Case 5:21-cv-00844-XR   Document 841-16   Filed 01/10/24   Page 1 of 2




            EXHIBIT 15
                 Errata Sheet: Danielle Ayers
     Case 5:21-cv-00844-XR         Document 841-16        Filed 01/10/24     Page 2 of 2




Errata Sheet: Danielle Ayers (10/4/23) (Trial Day 11)

 Page and Line     Current                              Change To
 2500:12           friend west                          Friendship‐West
 2508:17           BY MS. NIELSEN:                      BY MS. SINGH
 2513:7            fingerprints                         finger ps
 2514:17           turnout, tac c,                      Delete comma a er “turnout” and
                                                        comma a er “tac c”
 2525:20           expend resources to training its     expend resources to train its
                   volunteers                           volunteers
 2526:1‐2          talk about training our volunteers   talk about training our volunteers and
                   and I was saying money used to       I was saying money used to train
                   train an advocacy training and       [comma] advocacy training and
                   organizing training which is         organizing training [comma]which is
                   separate from what we do to          separate from what we do to prepare
                   prepare folks who engage in          folks who engage in vo ng
                   vo ng engagement ac vi es.           engagement ac vi es.
 2528:12           voter                                video
 2530:11‐13        No, I don't think we make an         No, I think we make an a empt to be
                   a empt to be deeply engaged in       deeply engaged in every session
                   every session because issues we      because issues we care about are
                   care about are always on the         always on the agenda.
                   agenda.
